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1    charges and obviously is continuing to deal with that issue on

2    that front, and I'm concerned that the defendants not further

3    leverage the any sort of criminal threats in the context of

4    this case.

5              THE COURT:    Mr. Schonfeld.

6              MR. SCHONFELD:     Yes, your Honor.

7              So, two points.     First of all, I think the first part

8    of what Mr. Reinitz stated in terms of discussing the

9    background and the history of how it was that these agreements

10   were entered into sort of underscores the need to have his

11   testimony on the record, because none of that is anything I had

12   any knowledge of and none of it is alleged in the complaint.

13   So that's just as an initial matter.

14             With respect to contact with law enforcement, I can

15   tell you that I was contacted by an assistant U.S. attorney

16   from the Southern District of New York, not the other way

17   around.   I have another action in fact in which Mr. Reinitz is

18   counsel on as well involving Mr. Teman, and it's been reported

19   in the media.    The Southern District of New York got wind of

20   that action and called me and asked me about information in

21   that case, which I thought may or may not have been helpful to

22   them in the criminal proceeding.       I don't know if they used my

23   other action in the proceedings or not.        I didn't follow the

24   criminal trial very closely.

25             And insofar as whether or not the Southern District of


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1    New York or the NYPD reached out to my client or my client

2    reached out to them, I don't have any specific knowledge of

3    that.   I'm not sure what, if any, wrongdoing is being alleged

4    if a client believes that they were being taken advantage of

5    or, you know, attempted to be swindled, so to speak, for them

6    to reach out to law enforcement to lodge a complaint, but

7    again, just -- and to my knowledge -- and Ms. Moyal can correct

8    me if I'm wrong -- I don't believe she had any contact with law

9    enforcement.    I did, because, as I said, they called me.           I

10   gave them the information that I had with respect to the other

11   matter.   I don't believe I was yet representing Goldmont at the

12   time that they reached out to me, but I'm not a hundred percent

13   sure.   I provided them the information, and they did with it

14   whatever they may or may not have done.

15             So to the extent that there's a suggestion of any

16   wrongdoing or attempt to threaten, I'm not sure where that

17   comes from or what the basis of that is, and I suppose that

18   during the course of discovery, we can certainly go through all

19   of these areas of attempts by parties to blackmail and threaten

20   and pressure each other, which I think will be illuminating.

21   But I can certainly represent to the Court that I did not

22   myself reach out to law enforcement and I did not use that as a

23   tool of leverage in this case or any other companion -- not

24   companion, but the other action where I'm representing the

25   parties in litigation with GateGuard.        And it certainly has no


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